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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA

 TRINITY PRINT & MEDIA, INC., et al.,

        Plaintiffs,

 v.

 ROMAN ROMANYUK, et al.,                        CASE NO.: 8:23-cv-00449-MSS-JSS

        Defendants.

 ____________________________________/

         PLAINTIFFS’ MOTION TO MODIFY CASE MANAGEMENT
      AND SCHEDULING ORDER AND EXTEND PRETRIAL DEADLINES

       Plaintiffs, Trinity Print & Media, Inc., Vibey.com, LLC, and Turtle Media

Group, LLC (collectively, “Plaintiffs”), by counsel, hereby move to modify the

existing Case Management and Scheduling Order [Dkt. # 35] and extend the expert

disclosure, discovery, dispositive motion, and Daubert motion deadlines by

approximately 45 days. Defendants do not oppose extending the expert disclosure,

dispositive motion, and Daubert motion deadlines by approximately 45 days;

however, Defendants do oppose extending the discovery deadline. As set forth below,

good cause exists to extend the expert disclosure, discovery, dispositive motion, and

Daubert motion deadlines by approximately 45 days due to Plaintiffs’ diligence,

difficulties scheduling Defendants’ depositions, and the pendency of Plaintiffs’ Motion

to Compel [Dkt. # 44].
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                            STATEMENT OF BASIS FOR RELIEF

      1.     This case arises from Defendant Romanyuk’s sale of two digital media

companies to Plaintiff Trinity. In connection with the sale, Romanyuk agreed: (i) not

to use the companies’ media content; and (ii) not to solicit or work with the companies’

media buyers. The Complaint alleges, and discovery has revealed, that Defendants

breached the covenants including by hiring certain media buyers to support Defendant

Prezna.

      2.     On May 5, 2023, the Court entered its Case Management and Scheduling

Order [Dkt # 35], which established the following remaining deadlines for this case:

              a.      Deadline for serving expert disclosures under Rule 26(a)(2),

             including any report required by Rule 26(a)(2)(B):

                       i.     Plaintiff - December 15, 2023

                      ii.     Defendant – January 15, 2024

                     iii.     Rebuttal – February 14, 2024

              b.      Discovery Deadline – February 14, 2024.

              c.      Dispositive Motions, Daubert, and Markman Motions – March 14,

             2024.

              d.      Meeting In Person to Prepare Joint Final Pretrial Statement – July

             1, 2024.

              e.      Joint Final Pretrial Statement – July 11, 2024

              f.      All Other Motions Including Motions In Limine – July 22, 2024

              g.      Trial Briefs – July 29, 2024

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               h.    Trial – September 2, 2024

      3.       Since the Court entered the Case Management and Scheduling Order,

Plaintiffs have diligently pursued discovery, including exchanging multiple rounds of

written discovery with Defendants and serving subpoenas on third parties.           On

November 4, 2023, Plaintiffs filed a Motion to Compel production of documents [Dkt.

# 44] because Defendants have not produced documents regarding the day-to-day

communications of several media buyers working for Defendant Prezna.

      4.       Plaintiffs have also diligently pursued the scheduling of depositions. At

the end of the parties’ October 18, 2023 mediation, Plaintiffs requested that

Defendants provide their availability for depositions the week of November 13, 2023.

Plaintiffs’ counsel followed up the following day, and Defendants’ counsel responded

that Defendants were only available for deposition October 30-31, 2023, which did not

work for Plaintiffs’ counsel due to family commitments over the Halloween holiday.

On October 25, 2023, Plaintiffs’ counsel requested that Defendants provide their

availability for deposition the week of November 6, 2023. Defendants then responded

that they were not available for deposition any time in November and instead not until

mid-December. Plaintiffs have since noticed Defendants’ depositions for the week of

December 18, 2023.

      5.       On November 15, 2023, the Court ordered a hearing on Plaintiffs’

Motion to Compel [Dkt. # 48], which is scheduled for December 7, 2023 at 2:00 p.m.

[Dkt. # 49].

      6.       In light of the above, including the difficulty scheduling Defendants’

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depositions, Plaintiffs’ Motion to Compel, the upcoming December 15, 2023 expert

disclosure deadline, and the upcoming February 14, 2023 discovery deadline,

Plaintiffs request that this Court extend the expert disclosure, discovery, dispositive

motion, and Daubert motion deadlines by approximately 45 days. This extension is

necessary so that Plaintiffs can depose Defendants in sufficient time before their expert

reports are due and so that the parties can have sufficient time to complete discovery.

       7.     Plaintiffs’ counsel conferred with Defendants’ counsel regarding this

Motion, and Defendants’ counsel has conveyed that Defendants do not oppose the

requested relief, except for extension of the February 14, 2023 discovery deadline.

       8.     Plaintiffs submit that good cause exists to grant the requested extension

and that no party will be prejudiced by the granting of the relief sought especially since

Plaintiffs are not moving to continue the August 2023 trial term.

                             MEMORANDUM OF LAW

       “Inherent in the Court’s authority is the power of the Court to manage its affairs

so as to achieve the orderly and expeditious disposition of its cases.” Parkervision, Inc.

v. Apple Inc., 2020 WL 13388253, *1 (M.D. Fla. Apr. 30, 2020) (citing Wieckiewicz v.

Edu. Credit Mgmt. Corp., 443 F. App’x 449, 450 (11th Cir. 2011)); see also Johnson v. Bd.

of Regents of Univ. of Georgia, 263 F.3d 1234, 1269 (11th Cir. 2011) (“[W]e accord district

courts broad discretion over the management of pre-trial activities, including discovery

and scheduling.”). This includes the Court’s ability “to extend or modify deadlines

within a case management order to enlarge the discovery period,” upon a showing of

good cause. Gadsby v. Am. Golf Corp. of California, 2012 WL 2368568, at *1 (M.D. Fla.

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June 21, 2012); Fed. R. Civ. P. 16(b)(4). Good cause requires a showing that “the

schedule cannot ‘be met despite the diligence of the party seeking the extension.’” Sosa

v. Airprint Sys., Inc., 133 F.3d 1417, 1418 (11th Cir. 1998) (quoting Fed. R. Civ. P.

Advisory Committee’s Note).

      Good cause exists here to extend the in light of Plaintiffs’ diligence, the

difficulties in scheduling Defendants’ depositions, and the issues raised by Plaintiffs’

Motion to Compel. The requested extension provides sufficient time for the Court to

decide Plaintiffs’ Motion to Compel, for Plaintiffs to conduct depositions before

Plaintiffs’ expert report is due, and to complete remaining fact and expert discovery.

Accordingly, Plaintiffs respectfully request that the Court extend the expert disclosure,

discovery, dispositive motion, and Daubert motion deadlines by approximately 45

days. As noted above and more fully below, Defendants do not oppose the requested

extensions except with respect to the requested extension of the discovery deadline.

This is the first request for an extension of the case management deadlines.

               CONCISE STATEMENT OF RELIEF REQUESTED

      For the reasons stated above, Plaintiffs respectfully request that the Court grant

this Motion and modify the existing Case Management and Scheduling Order to

extend the following pre-trial deadlines approximately 45 days as follows:

             a.     Deadline for serving expert disclosures under Rule 26(a)(2),

             including any report required by Rule 26(a)(2)(B):

                    i.    Plaintiff – January 30, 2024

                    ii.   Defendant – March 1, 2024

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                     iii.   Rebuttal – April 1, 2024

             b.       Discovery Deadline – April 1, 2024.

             c.       Dispositive Motions, Daubert, and Markman Motions – April 30,

             2024.

                             Local Rule 3.01(g) Certification

      Defendants’ counsel has conveyed that Defendants do not oppose extending the

expert disclosure, dispositive motion and Daubert motion deadlines by approximately

45 days; however, Defendants do oppose extending the discovery deadline. After

leaving messages on November 8, 2023 and November 9, 2023, and an email on

November 10, 2023, Plaintiffs’ counsel was finally able to confer with Defendants’

counsel regarding the relief requested in this motion on a November 14, 2023 call.

However, Defendants’ counsel did not provide an answer on the call, stating he still

needed to speak with Defendants. Plaintiffs’ counsel sent a follow up email on

November 15, 2023, at which point Defendants’ counsel stated they would not agree

to extend any deadlines. After Plaintiffs’ counsel sent another email on November 15,

2023, Defendants agreed to an approximately 45 day extension of the expert

disclosure, dispositive motion, and Daubert motion deadlines.



Dated: November 20, 2023                 Respectfully Submitted:

                                         /s/ Damon W.D. Wright
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                          CERTIFICATE OF SERVICE

      I, the undersigned, HEREBY CERTIFY that on this 20th day of November

2023, a true and correct copy of the foregoing Motion has been filed with the Clerk of

the Court and furnished via CM/ECF to:

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                                              /s/ Damon W.D. Wright
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